         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CRIMINAL NO. 1:09CR13


UNITED STATES OF AMERICA                )
                                        )
                                        )
           VS.                          )           ORDER
                                        )
                                        )
DENNIS LAMAR BRUTON                     )
                                        )


     THIS MATTER came on for hearing before the Court on motion of

Defendant’s court appointed counsel to withdraw. See Motion to

Withdraw as Counsel of Record, filed April 3, 2009.

     The Defendant advised the Court that he was dissatisfied with the

services of his appointed counsel, Rich Cassady, and he wished to retain

his own attorney. The Court advised the Defendant that Mr. Cassady

would remain as his counsel of record unless Defendant was successful in

retaining an attorney and that attorney had filed notice of appearance on

Defendant’s behalf by Monday, April 13, 2009. The deadline has now

passed and no new counsel for the Defendant has filed a notice of




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appearance in this case. Therefore, Mr. Cassady will remain as

Defendant’s appointed attorney.

     IT IS, THEREFORE, ORDERED that the motion of appointed

counsel to withdraw is hereby DENIED.

                                      Signed: April 14, 2009




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